   Case 1:19-mc-00081-UNA Document 1 Filed 04/04/19 Page 1 of 3 PageID #: 5

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.. ~                                                                          United States District Court
                                                                                Southern District of Texas

                                                                                   ENTERED
                                                                                 August 13, 2016
                      IN THE UNITED STATES DISTRICT COURT FOR
                                                                                David J. Bradley, Clerk
                          THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION


       WILLIAM MARSH RICE
       UNIVERSITY,

             Plaintiff,                                                      19-08 1


             V.

                                                    Case No. 4:14-cv-03496
       UNIDYM, INC., ARROWHEAD
       RESEARCH CORPORATION,
       MARK TILLEY, individually, AND
       JOHN MILLER, individually,

             Defendants.


                                     FINAL JUDGMENT

             On May 23 , 2016, this Court entered an Order of Dismissal of all claims

       against Defendants Arrowhead Pharmaceuticals, Inc., Mark Tilley, and John

       Miller. Doc. 109. On July 19, 2016, this Court entered a default judgment against

       Unidym as to Rice 's breach of contract claim and entered a judgment in favor of

       Rice in the amount of $7,047,780.25 plus interest accruing at a rate of .46% per

       annum from July 19, 2016 until paid and costs. Doc. 112.

             Pursuant to the notice of voluntary dismissal filed by Rice on July 28, 2016,

       the remaining claims against Unidym have been dismissed, including claims for

       fraudulent inducement, fraud, and tortious interference.    TRUE COPY t CERTIFY ATTEST:
                                                                   DAVID J. BRADLEY, Clerk of Court

                                                                   svJ'\l\'M.~          s jz7 /tj
                                                                             De uty Clerk
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           It is, therefore, ORDERED, ADJUDGED AND DECREED that Plaintiff

     is awarded judgment against Unidym in the amount of $7,047,780.25 plus interest

     accruing at a rate of .46% per annum from July 19, 2016 until paid and costs.

           All other relief not expressly granted is hereby DENIED.

           This is a Final Judgment disposing of all claims of all parties.



           SIGNED this 12thday ofAugu 5t , 2016.




                                          tJ~~Q
                                     VANESSAD.GILMO~
                                     UNITED STATES DISTRICT JUDGE
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